       Case 08-07843-JM7            Filed 11/18/08       Entered 11/18/08 17:14:05      Doc 17      Pg. 1 of 2

B18                          United States Bankruptcy Court                                    Telephone: 619−557−5620
(Official Form 18)                                                                        Website: www.casb.uscourts.gov
(12/07)                            Southern District of California                 Hours: 9:00am−4:00pm Monday−Friday
                                   Jacob Weinberger U.S. Courthouse
                                          325 West F Street
                                      San Diego, CA 92101−6991


In re: Debtor name(s) used by the debtor in the last 8 years,         Case number: 08−07843−JM7
including married, maiden, trade, and address:                        Chapter: 7
                                                                      Judge James W. Meyers
Juan C. Landa
8847 Harness St.
Spring Valley, CA 91977                                               Discharge of Debtor
Social Security No.: xxx−xx−5217
No Known Aliases


Lucina O. Landa
8847 Harness St.
Spring Valley, CA 91977
Social Security No.: xxx−xx−7638
No Known Aliases




It appearing that the debtor is entitled to a discharge, IT IS ORDERED:   The debtor is granted a discharge under
§727 of title 11, United States Code, (the Bankruptcy Code).




 Dated: 11/18/08                                                       By order of the court:

                                                                       Barry K. Lander
                                                                       Clerk of the Bankruptcy Court




                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION
      Case 08-07843-JM7              Filed 11/18/08    Entered 11/18/08 17:14:05            Doc 17      Pg. 2 of 2

B18 (Official Form 18)(12/07) − Continued


                  EXPLANATION OF BANKRUPTCY DISCHARGE IN A CHAPTER 7 CASE

   This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

   The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor(s).

   However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against the
debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

    The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but not
all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was begun
under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts owed
when the bankruptcy case was converted.)

Debts that are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

             a. Debts for most taxes;
             b. Debts incurred to pay nondischargeable taxes (applies to cases filed on or after 10/17/2005);
             c. Debts that are domestic support obligations;
             d. Debts for most student loans;
             e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;
             f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or
                aircraft while intoxicated;
             g. Some debts which were not properly listed by the debtor;
             h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
                discharged;
             i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement
                in compliance with the Bankruptcy Code requirements for reaffirmation of debts.
             j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift
                Savings Plan for federal employees for certain types of loans from these plans. (applies to cases filed
                on or after 10/17/2005)




This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
